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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re:
                                              Case No. 20-12522 (JTD)
MALLINCKRODT PLC, et al.,
                                              (Jointly Administered)
                            Debtors.


KENNETH GREATHOUSE,
STUART ROSE, and LLOYD GLENN                  C.A. No. 21-cv-01756 (TLA)

                            Appellants,

MALLINCKRODT plc, et al.,

                            Appellees.


                      STIPULATION AND PROPOSED
                  ORDER EXTENDING BRIEFING DEADLINES

           IT IS HEREBY STIPULATED AND AGREED by and between the above

captioned appellants—Kenneth Greathouse, Stuart Rose, and Lloyd Glenn (the

“Appellants”)—and Mallinckrodt plc and its affiliated debtors-in-possession in the

above-captioned cases (collectively, the “Debtors-Appellees”), subject to the

approval of the Court, that:

           1.   The deadline for Appellants to file their opening brief is extended 62

days from July 1, 2022 to September 1, 2022.




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           2.   The deadline for Debtors-Appellees to file their answering brief is

extended 63 days from August 1, 2022 to October 3, 2022.

           3.   The deadline for Appellants to file their reply brief is extended 63 days

from August 15, 2022 to October 17, 2022.


Dated: June 29, 2022

COOCH & TAYLOR, P.A.                             RICHARDS, LAYTON &
                                                  FINGER, P.A.

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IT IS SO ORDERED this ____ day of _____________, 2022.


                                           _____________________________
                                           Honorable Thomas L. Ambro




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